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Executive Grant of Clemency

DONALD J. TRUMP

President of the United States of America

To ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:

BE IT KNOWN, THAT THIS DAY, I, DONALD J. TRUMP, PRESIDENT OF THE
UNITED STATES, PURSUANT TO My POWERS UNDER ARTICLE II, SECTION 2,
CLAUSE 1, OF THE CONSTITUTION, HAVE GRANTED UNTO

CHRISTOPHER COLLINS

A FULL AND UNCONDITIONAL PARDON

FOR HIS CONVICTION in the United States District Court for the Southern District of
New York on a superseding indictment (Docket No. $1 1:18-cr-00567-VSB-1) charging
violations of Sections 371 and 1001, Title 18, United States Code, for which he was sentenced
on January 16, 2020, to 26 months’ imprisonment, one year’s supervised release, a $200,000
fine, and a special assessment of $200.

I HEREBY DESIGNATE, direct, and empower the Office of the Pardon Attorney, as
my representative, to sign a grant of clemency to the person named herein. The Office of the

Pardon Attorney shall declare that its action is the act of the President, being performed at my
direction.

I ALSO DIRECT the Bureau of Prisons, upon receipt of this warrant, to effect
immediately the release of the Pardon recipient (Reg. No. 86014-054) with all possible speed.

IN TESTIMONY WHEREOEF, [ have hereunto caused this Pardon to be recorded with
the Department of Justice.

Done at the City of Washington in the
District of Columbia this twenty-second
day of December in the year of our Lord
Two Thousand and Twenty and of the
Independence of the United States the
Two Hundred and Forty-fifth.

DONALD J. TRUM
PRESIDENT

